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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS 2O2Ut' 29                         14:     5
                                   AUSTIN DIVISION

TONY K. MCDONALD, JOSHUA B.                  §
HAMMER, AND MARK S. PULLIAM,                 §
                PLAINTIFFS,                  §
                                             §
V.                                           §      CAUSE NO. 1:19-CV-219-LY
                                             §
RANDALL 0. SORRELS, LARRY P.                 §
MCDOUGAL, JOE K. LONGLEY,                    §
LAURA GIBSON, BRITNEY B.                     §
HARRISON, ANDRES E. ALMANZAN,                §
JERRY C. ALEXANDER, KATE BIHM,               §
REBEKAH STEELY BROOKER, LUIS                 §
M. CARDENAS, ALISON W. COLVIN,               §
DEREK COOK, ROBERT D. CRAIN,                 §
CHRISTINA DAVIS, ALISTAIR B.                 §
DAWSON, LESLIE DIPPEL,                       §
MICHAEL DOKUPIL, VICTOR FLORES,              §
JARROD T. FOERSTER, LAURA GIBSON,            §
JOHN CHARLES GINN, SHAM                      §
GOLDSBERRY, MARC E. GRAVELY,                 §
AUGUST W. HARRIS III, JOE "RICE"             §
HORKEY, JR, WENDY-ADELE                      §
HUMPHREY, MICHAEL K. HURST,                  §
NEIL D. KELLY, DAVID C. KENT,                §
ALDO D. LOPEZ, YOLANDA CORTES                §
MARES, ROBERT E. MCKNIGHT, JR.,              §
STEPHEN J. NAYLOR, AMIE S. PEACE,            §
SALLY PRETORIUS, CARMEN M. ROE,              §
ADAM T. SCHRAMEK, DAVID K SERGI,             §
ALAN E. SIMS, DINESH H. S1NGHAL,             §
JASON SMITH, SANTOS VARGAS,                  §
G. MICHAEL VASQUEZ, K. NICOLE                §
VOYLES, AMY WELBORN, JAMES                   §
WESTER, JAMES C. WOO, AND                    §
DIANE ST. YVES, iN THEIR OFFICIAL            §
CAPACITIES AS MEMBERS OF THE                 §
BOARD OF DIRECTORS OF THE STATE              §
BAR OF TEXAS,                                §
                    DEFENDANTS.              §


                                     FINAL JUDGMENT

       Before the court is the above entitled cause of action. On this date, the court rendered an

order granting Defendants summary judgment. Accordingly, the court renders the following Final
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Judgment pursuant to Federal Rule of Civil Procedure 58.

       IT IS ORDERED that Plaintiffs TAKE NOTHING by their suit against Defendants.

       IT IS FURTHER ORDERED that Defendants are awarded costs.

       IT IS FINALLY ORDERED the case is CLOSED.

       SIGNED this                 day of May, 2020.




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